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 1   MICHAEL B. BIGELOW
     Attorney at Law
 2   State Bar No. 65211
     331 J Street, Suite 200
 3   Sacramento, CA 95814
     Telephone: (916) 443-0217
 4   Email: LawOffice.mbigelow@gmail.com
 5   Attorney for Defendant
     Minh Tham
 6
                        IN THE UNITED STATES DISTRICT COURT
 7                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA                  )   Case No. Cr.S    09-0222 GEB
                                               )
10
                 Plaintiff                     )   STIPULATION AND PROPOSED
                                               )   ORDER CONTINUING
11
                       v                       )   STATUS
12                                             )   ORDER (PROPOSED)
     MINH THAM                                 )
13                                             )
                 Defendant                     )
14                                             )

15
                 It is hereby stipulated between the parties that status
16
     in this matter, as to this defendant only, be continued to April
17
     19, 2013. Defendant has just recently received a plea agreement
18

19
     and he and counsel must have time to discuss it. In addition,

20   undersigned will be unavailable on the current status conference

21   date of March 15, 2013.

22       For the purpose of computing time under the Speedy Trial Act,

23   18 U.S.C. § 3161, et seq., within which trial must commence, the
24   time period of March 15, 2013 to April 19, 2013, inclusive, is
25
     deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)



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 1   [Local Code T4] because it results from a continuance granted by
 2   the Court at defendant’s request on the basis of the Court's
 3
     finding that the ends of justice served by taking such action
 4
     outweigh the best interest of the public and the defendant in a
 5
     speedy trial pursuant to 18 U.S.C. § 3161(h).
 6
         4.    Nothing in this stipulation and order shall preclude a
 7
     finding that other provisions of the Speedy Trial Act dictate that
 8
     additional time periods are excludable from the period within
 9
     which a trial must commence.
10

11

12       Dated: March 8, 2013                  Respectfully submitted,

13                                             /s/MICHAEL B. BIGELOW
                                               Michael B. Bigelow
14                                             Attorney for Defendant

15

16

17                             IT IS SO STIPULATED
18
     DATED: March 8, 2013              /s/MICHAEL B. BIGELOW
19
                                       Michael B. Bigelow
20                                     Attorney for Defendant Tham

21
     DATED: March 8, 2013              /s/TODD LERAS
22                                     Todd Leras
                                       Assistant United States Attorney
23

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 1

 2                                                ORDER (PROPOSED)
 3
                           IT IS ORDERED: that pursuant to stipulation the above
 4
     referenced matter shall be continued until APRIL 19, 2013 at 9:00
 5
     PM, and time excluded for the reasons set forth above.
 6
     Date:                  3/11/2013
 7

 8
                                                       ___________________________________
 9                                                     GARLAND E. BURRELL, JR.
                                                       Senior United States District Judge
10   DEAC_Signature-END:




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14   61khh4bb

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